Case 1:14-ml-02570-RLY-TAB Document 306 Filed 03/18/15 Page 1 of 2 PageID #: 1460




                     IN THE UNITED STATE DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION
  __________________________________________
  IN RE: COOK MEDICAL, INC. IVC FILTERS
  MARKETING, SALES PRACTICES AND              Case No. 1:14-ml-2570-RLY-TAB
  PRODUCTS LIABILITY LITIGATION               MDL No. 2570
  __________________________________________

  This Document Relates to All Actions
  __________________________________________

   JOINT MOTION FOR APPROVAL AND ENTRY OF CASE MANAGEMENT ORDER
           #4 (PARTY PROFILE FORMS & FACT SHEET PROTOCOL)

         The Parties have met and conferred regarding the use of party profile forms and fact

  sheets in this MDL, and hereby respectfully request that the Court approve and enter the

  attached proposed Case Management Order #4 (Party Profile Forms & Fact Sheet Protocol).

  JOINTLY SUBMITTED BY:

  s/ Irwin B. Levin (with consent)______          s/ Christopher D. Lee___________________
  Irwin B. Levin, Esq.                            Douglas B. King, Esq.
  COHEN & MALAD LLP                               James M. Boyers, Esq.
  One Indiana Square, Suite 1400                  Christopher D. Lee, Esq.
  Indianapolis, Indiana 46204                     John C. Babione, Esq.
  Tel: (317) 636-6481                             Sandra L. Davis, Esq.
  Fax: (317) 636-2593                             Kip S. M. McDonald, Esq.
  ilevin@cohenandmalad.com                        WOODEN & MCLAUGHLIN LLP
                                                  One Indiana Square, Suite 1800
  Lead Counsel for Plaintiffs                     Indianapolis, IN 46204-4208
                                                  Tel: (317) 639-6151
                                                  Fax: (317) 639-6444
                                                  dking@woodmclaw.com
                                                  jboyers@woodmclaw.com
                                                  clee@woodmclaw.com
                                                  sdavis@woodmclaw.com
                                                  kmcdonald@woodmclaw.com

                                                  Counsel for Cook Defendants




                                              1
Case 1:14-ml-02570-RLY-TAB Document 306 Filed 03/18/15 Page 2 of 2 PageID #: 1461




                                   CERTIFICATE OF SERVICE

         I hereby certify that on March 18, 2015, a copy of the foregoing was served

  electronically, and notice of the service of this document will be sent to all parties by operation

  of the Court’s electronic filing system to CM/ECF participants registered to receive service in

  this matter. Parties may access this filing through the Court’s system.



                                        /s/ Christopher D. Lee




                                                  2
